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                    EXHIBIT C
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From:                          jeffrey E. <jeevacation@gmail.com>
Sent:                          Sunday, January 25, 2015 4:41 AM
To:                            G Maxwell
Subject:                        Re:



ok, with me, You have done nothing wrong and i woudl urge you to start acting like it. go outside, head high,
not as an esacping convict. go to parties. deal with it. . i had Iisa svenson the swedish ocean
ambassador yesteady she said no one on her ocean panel takes this stuff seriously and you would be welcoe to
the ocean conferenec water conference etc.

On Sat, Jan 24, 2015 at 1:22 PM, G Maxwell <GMaxl@ellmax.com> wrote:
I would appreciate it i f - would come out and say she was your g'friend - I think she was from end 99 to
2002

THE TERRAMAR PROJECT
FACEBOOK
TWITTER
G+
PINTEREST
INST AGRAM
PLEDGE
THE DAILY CATCH




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